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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 18-150(1) (DWF/HB)


 UNITED STATES OF AMERICA,               )
                                         )
                      Plaintiff,         )
                                         )        DEFENDANT'S RESPONSE TO
               v.                        )        GOVERNMENT’S OBJECTION TO
                                         )        PROPOSED DEFENSE EXHIBITS
 MICHAEL HARI,                           )
                                         )
                      Defendant.         )


       Michael Hari, by and through his counsel, hereby respectfully submits this

Response to the government’s objection to proposed defense exhibits as articulated in its

recently filed Notice by the United States of Intent to Describe the White Rabbits as a

“Militia.” (Docket No. 257.)

       In its Notice, the government has requested that the Court preclude the defense

from using a proposed exhibit at trial, specifically an FBI wanted poster for Jehad Serwan

Mostafa. The government’s objection is based on its misperception that the “purpose” of

such an exhibit is “to play to prejudices that an unfortunate number of people hold about

Somali-Americans… and [to] avoid inflammatory characterizations of groups of people,

organizations, and religions.” (Docket No. 257, p. 2-3.)

       This is not the purpose of the proposed exhibit. The government appears to ground

its concern in speculation that the defense seeks to “tar the Dar al-Farooq mosque or the

persons who attend it as terrorists.” (Docket No. 257, p 2.) This presumption is simply off
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the mark. Rather, the defense intends to use this specific exhibit along with other

evidence to be admitted at trial – including additional exhibits and testimony from

multiple witnesses – to illustrate Mr. Hari’s various entrepreneurial enterprises, which

included efforts to identify and apprehend publicly known and notorious individuals

wanted by the authorities.

       More specifically, Mr. Hari’s business, Crisis Resolution Security Services, Inc.

(hereinafter “CRSS”), sought to apprehend Joanne Chesimard and Jehad Serwan

Mostafa. In both instances, the FBI offered massive financial rewards for anyone who

helped to apprehend Jehad Serwan Mostafa and Joanne Chesimard by providing

information directly to the FBI. These plans were known to Mr. Hari’s co-defendants and

information regarding the work of CRSS can be found on the Dell computer attributed to

Mr. Hari and others and searched by the FBI. Their identities and the plans of CRSS are

going to be offered as rebuttal to a number of things the government has asserted in its

trial brief. Thus, the exhibit complained of is no different than others proposed by the

defense that did not prompt any similar objection by the government. The sole basis for

the government’s concern appears to be the coincidental facts that the Dar al Farooq

Islamic Center serves a Muslim congregation and that Mr. Serwan Mostafa is purportedly

a member of al-Shabaab, an Islamic jihadist terror organization. To be clear, the

defense’s intent does not include a claim that either Mr. Serwan Mostafa or Ms.

Chesimard have anything to do with the Dar al Farooq Islamic Center.

       Not only is this purpose decidedly different than that presumed incorrectly by the

government, it is important to stress that this specific purpose is grounded in a larger

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cause, one that lies at the heart of any criminal trial before a jury: to require that the

government prove each and every element of the charges it has asserted against Mr. Hari.

As the Court is well aware, one of the critical elements that the government has

voluntarily taken on is that of religious animus. The defense submits that its proposed

exhibit is a necessary component to addressing this element, and Mr. Hari ought to be

entitled to a fair trial where he is able to introduce such evidence. This is particularly true

when, as here, the government’s speculative concern regarding the purpose of this exhibit

has been obviated by the explicit clarifications above.


 Dated: October 29, 2020                     Respectfully submitted,

                                             s/ James S. Becker

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